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           APPENDIX D
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experts’ conclusion that it was the MR-GO’s (including Plaintiffs’ property) in its defective and

unmitigated condition that was the determinative factor in causing the catastrophic flooding of

New Orleans East, Lower 9th Ward, and St. Bernard Parish. Exh. 106, Vrijling Joint Decl. (Jan.

2009) at ¶4.

Plaintiffs’ Modeling Results

       444. Plaintiffs’ modeling results demonstrate that the MR-GO had a dramatic impact on

several critical storm parameters that caused catastrophic flooding, specifically when contrasting

the modeling results of Scenario 2c (Neutral MR-GO) with Scenario 1 (MR-GO As Was) shows:

       (a)      overtopping is reduced by 80% for all three polders that experienced catastrophic

flooding. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶22;

       (b)      surge discharge into the IHNC via Reach 1/GIWW decreased by 274%. Exh. 93,

Kemp Supp. Decl. (Oct. 2008) at ¶21, Table 1;

       (c)      surge velocity diminishes by 246%. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at

¶21, Table 1;

       (d)      wave height is reduced by more than 50%. Exh. 93, Kemp Supp. Decl. (Oct.

2008) at ¶30(a);

       (e)      wave period plummets about 60%. Exh. 93, Kemp Supp. Decl. (Oct. 2008)

¶30(b); and

       (f)      wave energy eroding the EBSBs along Reach 2 dissipates by 300%. Exh. 93,

Kemp Supp. Decl. (Oct. 2008) ¶30(c).

       445. The reduction in protective wetlands (both in the Golden Triangle and Central

Wetlands Unit and immediately in front of the LPV structures) and increase in channel width had

demonstrable effects on flooding levels. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶¶19-27.




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       446. Waves generated by Katrina winds in Lake Borgne would have traversed a much

narrower channel and buffering wetlands and been greatly diminished before striking the Reach

2 embankments if the MR-GO had not eroded the channel banks and had not destroyed tens of

thousands of acres of wetlands due to construction, bank erosion, and saltwater intrusion. Exh.

93, Kemp Supp. Decl. (Oct. 2008) at ¶31.

       447. Plaintiffs’ experts’ data shows that the wider channel materially increased storm

surge intensity, time of breach/overtopping, overtopping rates, and duration of flooding. Exh.

93, Kemp Supp. Decl. (Oct. 2008) at ¶¶19-27.

       448. The geometry of the unmitigated “funnel” directly influenced surge discharge—

both in quantity and velocity—in Reach 1/GIWW and IHNC. Exh. 81, Bea Expert Report (Jan.

2009) at p. 6, ¶7; p. 12, Fig. 7; Exh. 91, Kemp Expert Report (July 2008) at Chapter 2, “Funnel

Geography, Terminology and Katrina Flood Damages.”

       449. The onset rate, and duration of overtopping—three critical storm parameters—are

significantly delayed without the MR-GO’s adverse effects, thereby dramatically reducing (and

averting catastrophic) flooding of Plaintiffs’ property. Exh. 74, Bea Expert Decl. No. 3 (July

2008) at pp. 150-52, ¶142; Exh. 91, Kemp Expert Report (July 2008) at pp. 125-33.

Defendant’s Experts Agree With Several Conclusions by Plaintiffs’ Experts

       450. Defendant’s expert’s (Westerink) modeling for Reach 1 and the IHNC shows

dramatic reductions of peak surge by up to 3.5 feet and duration by more than half associated

with returning Reach 1 to pre-MR-GO dimensions. (This is actually half a foot more reduction

than Plaintiffs’ experts showed with FINEL.) Thus, experts for both parties are in agreement

about the role the unmitigated “funnel effect” and enlarged GIWW in amplifying and prolonging

storm surge in Reach 1 and the IHNC and contributing to the early failure of floodwalls and




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